                        UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION
In the Matter of:                                     }
SARAI SERVICES GROUP, INC.1                           }   CASE NO. 18-82948-CRJ-11
                                                      }   CHAPTER 11
                                                      }
                         Debtor(s).                   }   (JOINTLY ADMINISTERED)




  ORDER SETTING DEADLINE TO FILE CHAPTER 11 PLANS AND DISCLOSURE
       STATEMENTS AND SETTING BAR DATE FOR FILING CLAIMS

        On March 4, 2019, this case came before the Court on Status Conference pursuant to 11
U.S.C. ' 105(d) and on Motion to Set Last Day to File Proofs of Claim and Deadline to File
Disclosure Statements and Plan of Reorganizations. Appearing at the hearing were Tazewell T.
Shepard, IV, Esq., counsel for Debtors; Joe Joseph, Esq., counsel for National Bank of Commerce;
and Richard Blythe, Esq., counsel for the Bankruptcy Administrator.
        Discussion was had regarding the procedural status of the case, and suggestions were
solicited regarding a realistic, reasonable deadline to file Disclosure Statements and Plans, and a
reasonable bar date for filing claims. Based upon the foregoing, it is hereby
        ORDERED, ADJUDGED AND DECREED as follows:
    1. Pursuant to Bankruptcy Rule 3003(c), the deadline for all creditors to file a Proof of Claim
        is Wednesday, May 1, 2019, by 5:00 p.m., CDT.
    2. Pursuant to Bankruptcy Rule 3016(b), the deadline to file Chapter 11 Plans and Disclosure
        Statements is fixed as Friday, June 14, 2019, by 5:00 p.m., CDT.
    3. Counsel for the Debtors is directed to immediately give notice of the Claims Bar Date by
        mailing a copy of this Order to the Debtor, all creditors, governmental units, Richard Blythe
        for the Bankruptcy Administrator=s office, and all parties requesting notice.
Dated this the 5th day of March, 2019.

                                                          /s/ Clifton R. Jessup, Jr.
                                                          Clifton R. Jessup, Jr.
                                                          United States Bankruptcy Judge

1       In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWW JV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




Case 18-82948-CRJ11             Doc 161 Filed 03/05/19 Entered 03/05/19 12:05:30                      Desc
                                  Main Document     Page 1 of 1
